AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   USDC District of CT
DOCKET NO.                          DATE FILED                            141 Church Street
    3:17-cv-00572-JAM                          4/6/2017                   New Haven, CT 06510
PLAINTIFF                                                                             DEFENDANT
WWE Studios Finance Corp                                                              Does
                                                                                      1-14



       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OR WORK
    REGISTRATION NO.

1 See Attached

2

3

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

1

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3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G
            ✔ Order            G Judgment                                     G Yes          G No                                        10/16/2017

CLERK                                                            (BY) DEPUTY CLERK                                              DATE

Robin D Tabora                                                   /s/Arilenis Potter                                                      10/16/2017
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